Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                         Main Document    Page 1 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                         Main Document    Page 2 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                         Main Document    Page 3 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                         Main Document    Page 4 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                         Main Document    Page 5 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                         Main Document    Page 6 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                         Main Document    Page 7 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                         Main Document    Page 8 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                         Main Document    Page 9 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                        Main Document    Page 10 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                        Main Document    Page 11 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                        Main Document    Page 12 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                        Main Document    Page 13 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                        Main Document    Page 14 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                        Main Document    Page 15 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                        Main Document    Page 16 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                        Main Document    Page 17 of 18
Case 1:18-bk-10314-VK   Doc 30 Filed 03/30/18 Entered 03/30/18 17:14:25   Desc
                        Main Document    Page 18 of 18
